Case 0:18-cv-60574-FAM Document 22 Entered on FLSD Docket 11/07/2018 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-60574-CIV-MORENO
ROSE CHARLAP,

Plaintiff,

vs.

PNC BANK, N.A., and PNC INVESTMENTS,
LLC,

Defendant.
/

 

ORDER DENYING MOTIONS

THIS CAUSE came before the Court upon the Defendants’ Motion to Consolidate (D.E.
19), filed on October 12, 2018, and the Plaintiffs Unopposed Motion for Reconsideration and to
Vacate Order of Dimissial (D.E. 21), filed on November 1, 2018.

THE COURT has considered the motions, the pertinent portions of the record, and is
otherwise fully advised in the premises. In light of the Court’s Order in Fisher v. PNC Bank
N.A., et al (D.E. 15 in Case Number 18-22974-CIV-MORENO) granting Plaintiff Diane Fisher
leave to amend her complaint to join the claims of Plaintiff Rose Charlap, through her estate or

personal representative, it is

ADJUDGED that the motions are DENIED.

DONE AND ORDERED in Chambers at Miami, Florida, this G of November
2018.

 
Case 0:18-cv-60574-FAM Document 22 Entered on FLSD Docket 11/07/2018 Page 2 of 2

Copies furnished to:

Counsel of Record

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